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   7
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   8

   9

  10                        UNITED STATES DISTRICT COURT
  11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12 SUSAN DORETY, INDIVIDUALLY                 CASE NO. 2:20-CV-03507-RGK-SK
     AND ON BEHALF OF THE ESTATE
  13 OF MICHAEL DORETY,
                                                DEFENDANT PRINCESS CRUISE
  14                                            LINES, LTD.’S NOTICE OF
                   Plaintiff,                   MOTION AND MOTION TO
  15 vs.                                        DISMISS PLAINTIFFS’ FIRST
                                                AMENDED COMPLAINT
  16 PRINCESS CRUISE LINES, LTD.,

  17                                            Date: August 31, 2020
                   Defendants.                  Time: 9:00 a.m.
  18                                            Judge: Hon. R. Gary Klausner
                                                Courtroom: 850
  19

  20                                            Magistrate: Hon. Steve Kim
                                                Filed: 04/15/2020
  21

  22

  23         TO: PLAINTIFFS AND TO THEIR COUNSEL OF RECORD:
  24         PLEASE TAKE NOTICE that on August 31, 2020 at 9:00 p.m., before
  25 Judge R. Gary Klausner in Courtroom 850 of the United States District Court,

  26 Central District of California, located at 255 East Temple Street, Los Angeles,
  27 California, Defendant PRINCESS CRUISE LINES, LTD., will move this Court for

  28 an Order dismissing Plaintiffs’ First Amended Complaint (ECF No. 32) for Failure

                                               1
       DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS            2:20-CV-03507-RGK-SK
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   1 to State a Claim, pursuant to Federal Rule of Civil Procedure 12(b)(6). This motion

   2 is based on this Notice, the supporting Memorandum of Points and Authorities filed

   3 concurrently herewith, and the pleadings and records on file within the Court, and

   4 all arguments and authorities cited in Defendant’s Memorandum of Law including;

   5 first, that Plaintiff Susan Dorety does not allege any individual personal injury

   6 damages, despite allegations as to her individual capacity within both the

   7 Negligence and Gross Negligence causes of action, thus failing to allege the

   8 elements of a Negligence (and Gross Negligence) claim; second, because regardless

   9 of whether the Death on the High Seas Act (“DOHSA”) or California state law

  10 applies, Plaintiffs have failed to plead sufficient facts to establish Plaintiff Susan

  11 Dorety’s standing as the appointed the personal representative or the successor in

  12 interest of the Estate of Michael Dorety and; third, that Plaintiffs’ Complaint is an

  13 impermissible shotgun pleading that runs afoul of Rule 8’s pleading requirement.

  14         With regard to the claims brought on behalf of the Estate of Michael Dorety,
  15 the Amended Complaint acknowledges that the Estate has not yet appointed a

  16 personal representative. Since such an appointment is a prerequisite to bringing a

  17 claim on behalf of the Estate, Plaintiffs’ Amended Complaint on behalf of the Estate

  18 should be dismissed without prejudice until such time as a personal representative of

  19 the Estate has been formally appointed and Plaintiffs’ amend their complaint to

  20 establish proper standing for the Estate and its representative or the matter be stayed

  21 until such time.1

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       Opposing counsel has advised that Plaintiffs intend to request a stay, pending
  26
     appointment of a personal representative by the Estate. Defendant has no objection
  27 to staying this matter to allow time for the Estate to appoint a personal
     representative.
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS                2:20-CV-03507-RGK-SK
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   1         LOCAL RULE 7-3 CERTIFICATION
   2         This motion is made following multiple conferences of counsel pursuant to
   3 L.R. 7-3 to discuss Defendant’s Motion to Dismiss which took place on June 10,

   4 2020, July 2, 2020 and July 8, 2020.

   5

   6 DATED: July 9, 2020                    MALTZMAN & PARTNERS
   7

   8                                  By:   s/ Jeffrey B. Maltzman
   9                                        Jeffrey B. Maltzman
                                            Edgar R. Nield
  10                                        Gabrielle De Santis Nield
  11                                        Rafaela P. Castells
                                            Attorneys for Defendant,
  12                                        Princess Cruise Lines Ltd.
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       DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS                2:20-CV-03507-RGK-SK
